
675 S.E.2d 660 (2009)
STATE of North Carolina
v.
Everton Austin BERRY.
No. 554P08.
Supreme Court of North Carolina.
March 19, 2009.
Everton A Berry, Pro Se.
Lars F. Nance, Special Deputy Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 19th day of December 2008 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 19th day of March 2009."
Upon consideration of the petition filed on the 19th day of December 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 19th day of March 2009."
